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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN


 UNITED STATES OF AMERICA,

                               Plaintiff,
         v.

 TOWN OF LAC DU FLAMBEAU,

                               Defendant and
                               counterclaimant,                 PRELIMINARY INJUNCTION

 And                                                                     23-cv-355-wmc

 GORDON ANDERSON, et al.,


                 Intervenor defendants and
                 Intervenor counterclaimants.




       The court issues this separate, written preliminary injunction in light of its Opinion

and Order entered today.

        IT IS ORDERED that the United States is PRELIMINARILY ENJOINED from using

any means to restrict access to the four Roads at issue in this case during the pendency of this

litigation. It is further ordered that the United States is directed to provide a copy of this order

and the separate injunction order to the Tribe, as well as encourage the Tribe to eliminate any

barriers or other restrictions impending Road access, and refrain from imposing any additional

restrictions, on the Homeowners’ access to the Roads during the pendency of this litigation.

       Entered this 26th day of September, 2024.

                                              BY THE COURT:
                                              /s/
                                              WILLIAM M. CONLEY
                                              District Judge
